WADE H. ELLIS, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Ellis v. CommissionerDocket No. 26136.United States Board of Tax Appeals15 B.T.A. 1075; 1929 BTA LEXIS 2724; March 26, 1929, Promulgated *2724 Held, that expenses incurred by a lawyer who is a member of the American Bar Association in attending a meeting thereof are deductible from gross income as ordinary and necessary expenses incurred in a trade or business, and, further, held, that expenses incurred by such member of the American Bar Association in making a trip to Europe as one of a committee of such Association to investigate criminal procedure are not so deductible.  Evert L. Bono, Esq., for the petitioner.  Bruce A. Low, Esq., for the respondent.  LANSDON *1075  The respondent asserts deficiencies in income taxes for the years 1922 and 1923 in the respective amounts of $142.50 and $745.37.  The only issue involved is whether the Commissioner erroneously disallowed the deduction in each of the taxable years of an amount alleged to represent ordinary expenses incurred in the trade or business of the petitioner.  FINDINGS OF FACT.  Petitioner is an individual, resident in Washington, D.C.  In the taxable years he was engaged in the practice of law as senior member of the partnership of Ellis, Harrison, Ferguson &amp; Gary.  He is a member of the American Bar Association. *2725  In the year 1922 he expended $375 in attending a meeting of such Association, and was not reimbursed therefor.  In the year 1922 the American Bar Association appointed the petitioner a member of its "Special Committee" to make a study of and submit a report on criminal procedure and law enforcement.  In order to secure first-hand information relative to the subject matter under investigation in foreign countries, petitioner, with other members of the committee, made a trip to Europe in 1923 to study law enforcement, especially in England and France as compared with the United States.  On such trip the petitioner expended the amount of $2,745.13 for which he has not been reimbursed.  In his income-tax returns for 1922 and 1923 petitioner deducted from his gross income in such years the respective amounts $375of and $2,745.13 as ordinary and necessary business expenses.  The Commissioner disallowed such deductions and determined the deficiencies here in controversy.  OPINION.  LANSDON: The petitioner's first contention is that he should be allowed to take a deduction from gross income in the year 1922 in the *1076  amount of $375 as ordinary and necessary expenses incurred*2726  in a trade or business.  It is stipulated that this amount was spent by the petitioner in attending a meeting of the American Bar Association.  Petitioner is a lawyer and is a member of such Association.  In , and , we held that expenses incurred by physicians in attending medical conferences and in consultation trips are deductible as business expenses.  In , we reached a similar decision in the matter of expenses incurred by a minister of the gospel in attending religious conferences.  In , we reached the same conclusion in respect of the expenses incurred by a college professor in matters pertaining to his specialty.  We think such decisions govern here.  The expense incurred by the petitioner in 1922, as set forth above, is a proper deduction from gross income for such year.  The deduction taken by the petitioner from his gross income in 1923 can not be allowed.  That expense had no possible connection with the petitioner's income in such year.  The purpose of the trip to Europe was not*2727  to serve or educate himself but to secure information for the Bar Association.  The expenditure, though incurred at the request of the Association, was voluntary.  It has not been shown that it was necessary and certainly it was not ordinary.  On this point the evidence is not sufficient to overcome the presumption that the Commissioner's determination is correct.  Cf. . Reviewed by the Board.  Decision will be entered under Rule 50.